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 1                                        NOTE: CHANGES MADE BY THE COURT
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18

19                        UNITED STATES DISTRICT COURT
20                      CENTRAL DISTRICT OF CALIFORNIA
21

22
      GINA CARANO,                                 Case No. 2:24-cv-01009-SPG-SK
23
                         Plaintiff,
24                                                 STIPULATED PROTECTIVE
                   v.                              ORDER EXCEPT AS MODIFIED
25                                                 BY THE COURT
      THE WALT DISNEY COMPANY,
26    LUCASFILM LTD, LLC, and
      HUCKLEBERRY INDUSTRIES
27    (US), INC.,
28                       Defendant.
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 1     1.    A. PURPOSES AND LIMITATIONS
 2           Discovery in this action is likely to involve production of confidential,
 3     proprietary, or private information for which special protection from public
 4     disclosure and from use for any purpose other than prosecuting this litigation may
 5     be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
 6     enter the following Stipulated Protective Order. The parties acknowledge that this
 7     Order does not confer blanket protections on all disclosures or responses to
 8     discovery and that the protection it affords from public disclosure and use extends
 9     only to the limited information or items that are entitled to confidential treatment
10     under the applicable legal principles. The parties further acknowledge, as set forth
11     in Section 12c (Filing Protected Material), below, that this Stipulated Protective
12     Order does not entitle them to file confidential information under seal; Civil Local
13     Rule 79-5 sets forth the procedures that must be followed and the standards that will
14     be applied when a party seeks permission from the court to file material under seal.
15

16           B. GOOD CAUSE STATEMENT
17           This action is likely to involve trade secrets and other valuable commercial,
18     financial, technical and/or proprietary information, including, for example, non-
19     public information about the creation of The Mandalorian, for which special
20     protection from public disclosure and from use for any purpose other than
21     prosecution of this action is warranted. Such confidential and proprietary materials
22     and information consist of, among other things, confidential business or financial
23     information, information regarding confidential business practices, commercial
24     information (including information implicating privacy rights of third parties),
25     information otherwise generally unavailable to the public, or which may be
26     privileged or otherwise protected from disclosure under state or federal statutes,
27     court rules, case decisions, or common law. Accordingly, to expedite the flow of
28     information, to facilitate the prompt resolution of disputes over confidentiality of


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 1     discovery materials, to adequately protect information the parties are entitled to keep
 2     confidential, to ensure that the parties are permitted reasonable necessary uses of
 3     such material in preparation for and in the conduct of trial, to address their handling
 4     at the end of the litigation, and serve the ends of justice, a protective order for such
 5     information is justified in this matter. It is the intent of the parties that information
 6     will not be designated as confidential for tactical reasons and that nothing be so
 7     designated without a good faith belief that it has been maintained in a confidential,
 8     non-public manner, and there is good cause why it should not be part of the public
 9     record of this case.
10

11     2.    DEFINITIONS
12          a. Action: Gina Carano v. Walt Disney Co., No. 2:24-cv-01009-SPG-SK.
13          b. Challenging Party: a Party or Non-Party that challenges the designation of
14     information or items under this Order.
15          c. “CONFIDENTIAL” Information or Items: information (regardless of how
16     it is generated, stored, or maintained) or tangible things that qualify for protection
17     under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
18     Cause Statement.
19          d. Counsel: Outside Counsel of Record and House Counsel (as well as their
20     support staff).
21          e. Designating Party: a Party or Non-Party that designates information or
22     items that it produces in disclosures or in responses to discovery as
23     “CONFIDENTIAL.”
24          f. Disclosure or Discovery Material: all items or information, regardless of
25     the medium or manner in which it is generated, stored, or maintained (including,
26     among other things, testimony, transcripts, and tangible things), that are produced
27     or generated in disclosures or responses to discovery in this matter.
28          g. Expert: a person with specialized knowledge or experience in a matter


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 1     pertinent to the litigation who has been retained by a Party or its counsel to serve as
 2     an expert witness or as a consultant in this Action.
 3          h. House Counsel: attorneys who are employees of a party to this Action.
 4     House Counsel does not include Outside Counsel of Record or any other outside
 5     counsel.
 6          i. Non-Party: any natural person, partnership, corporation, association, or
 7     other legal entity not named as a Party to this action.
 8          j. Outside Counsel of Record: attorneys who are not employees of a party to
 9     this Action but are retained to represent or advise a party to this Action and have
10     appeared in this Action on behalf of that party or are affiliated with a law firm which
11     has appeared on behalf of that party, including support staff.
12          k. Party: any party to this Action, including all of its officers, directors,
13     employees, consultants, retained experts, and Outside Counsel of Record (and their
14     support staffs).
15          l. Producing Party:      a Party or Non-Party that produces Disclosure or
16     Discovery Material in this Action.
17          m. Professional Vendors: persons or entities that provide litigation support
18     services (e.g., photocopying, videotaping, translating, preparing exhibits or
19     demonstrations, and organizing, storing, or retrieving data in any form or medium)
20     and their employees and subcontractors.
21          n. Protected Material: any Disclosure or Discovery Material that is designated
22     as “CONFIDENTIAL.”
23          o. Receiving Party: a Party that receives Disclosure or Discovery Material
24     from a Producing Party.
25     //
26     //
27     //
28     //


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 1     3.    SCOPE
 2           The protections conferred by this Stipulation and Order cover not only
 3     Protected Material (as defined above), but also (1) any information copied or
 4     extracted from Protected Material; (2) all copies, excerpts, summaries, or
 5     compilations of Protected Material; and (3) any testimony, conversations, or
 6     presentations by Parties or their Counsel that might reveal Protected Material.
 7           Any use of Protected Material at trial shall be governed by the orders of the
 8     trial judge. This Order does not govern the use of Protected Material at trial.
 9

10     4.    DURATION
11           Even after final disposition of this litigation, the confidentiality obligations
12     imposed by this Order shall remain in effect until a Designating Party agrees
13     otherwise in writing or a court order otherwise directs. Final disposition shall be
14     deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
15     or without prejudice; and (2) final judgment herein after the completion and
16     exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
17     including the time limits for filing any motions or applications for extension of time
18     pursuant to applicable law.
19

20     5.    DESIGNATING PROTECTED MATERIAL
21          a. Exercise of Restraint and Care in Designating Material for Protection.
22          Each Party or Non-Party that designates information or items for protection
23 under this Order must take care to limit any such designation to specific material that

24 qualifies under the appropriate standards. The Designating Party must designate for

25 protection only those parts of material, documents, items, or oral or written

26 communications that qualify so that other portions of the material, documents, items,

27 or communications for which protection is not warranted are not swept unjustifiably

28 within the ambit of this Order.


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 1         Mass, indiscriminate, or routinized designations are prohibited. Designations
 2 that are shown to be clearly unjustified or that have been made for an improper

 3 purpose (e.g., to unnecessarily encumber the case development process or to impose

 4 unnecessary expenses and burdens on other parties) may expose the Designating Party

 5 to sanctions.

 6         If it comes to a Designating Party’s attention that information or items that it
 7 designated for protection do not qualify for protection, that Designating Party must

 8 promptly notify all other Parties that it is withdrawing the inapplicable designation.

 9         b. Manner and Timing of Designations. Except as otherwise provided in this
10 Order (see, e.g., second paragraph of Section 5b(a) below), or as otherwise stipulated

11 or ordered, Disclosure or Discovery Material that qualifies for protection under this

12 Order must be clearly so designated before the material is disclosed or produced.

13         Designation in conformity with this Order requires:
14            (a) for information in documentary form (e.g., paper or electronic
15         documents, but excluding transcripts of depositions or other pretrial or trial
16         proceedings), that the Producing Party affix at a minimum, the legend
17         “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page
18         that contains protected material. If only a portion or portions of the material on
19         a page qualifies for protection, the Producing Party also must clearly identify
20         the protected portion(s) (e.g., by making appropriate markings in the margins).
21            A Party or Non-Party that makes original documents available for
22         inspection need not designate them for protection until after the inspecting
23         Party has indicated which documents it would like copied and produced.
24         During the inspection and before the designation, all of the material made
25         available for inspection shall be deemed “CONFIDENTIAL.”               After the
26         inspecting Party has identified the documents it wants copied and produced, the
27         Producing Party must determine which documents, or portions thereof, qualify
28         for protection under this Order.        Then, before producing the specified


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 1          documents, the Producing Party must affix the “CONFIDENTIAL legend” to
 2          each page that contains Protected Material. If only a portion or portions of the
 3          material on a page qualifies for protection, the Producing Party also must
 4          clearly identify the protected portion(s) (e.g., by making appropriate markings
 5          in the margins).
 6             (b) for testimony given in depositions, the Designating Party may
 7          provisionally      designate   the   entirety   of   deposition   testimony    as
 8          “CONFIDENTIAL,” with the obligation to identify more specific portions of
 9          the testimony as to which protection is sought within 30 days following receipt
10          of the deposition transcript (or within the time otherwise agreed by the Parties).
11             (c) for information produced in some form other than documentary and for
12          any other tangible items, that the Producing Party affix in a prominent place on
13          the exterior of the container or containers in which the information is stored the
14          legend “CONFIDENTIAL.” If only a portion or portions of the information
15          warrants protection, the Producing Party, to the extent practicable, shall
16          identify the protected portion(s).
17          c. Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
18 to designate qualified information or items does not, standing alone, waive the

19 Designating Party’s right to secure protection under this Order for such material.

20 Upon timely correction of a designation, the Receiving Party must make reasonable

21 efforts to assure that the material is treated in accordance with the provisions of this

22 Order.

23

24     6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
25          a. Timing of Challenges. Any Party or Non-Party may challenge a designation
26 of confidentiality at any time that is consistent with the Court’s Scheduling Order.

27          b. Meet and Confer. The Challenging Party shall initiate the dispute resolution
28 process under Civil Local Rule 37-1 et seq.


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 1           c. The burden of persuasion in any such challenge proceeding shall be on the
 2 Designating Party. Frivolous challenges, and those made for an improper purpose

 3 (e.g., to harass or impose unnecessary expenses and burdens on other parties), may

 4 expose the Challenging Party to sanctions. Unless the Designating Party has waived

 5 or withdrawn the confidentiality designation, all parties shall continue to afford the

 6 material in question the level of protection to which it is entitled under the

 7 Producing Party’s designation until the Court rules on the challenge.

 8 //

 9 //

10      7.    ACCESS TO AND USE OF PROTECTED MATERIAL
11           a. Basic Principles. A Receiving Party may use Protected Material that is
12 disclosed or produced by another Party or by a Non-Party in connection with this

13 Action only for prosecuting, defending, or attempting to settle this Action. Such

14 Protected Material may be disclosed only to the categories of persons and under the

15 conditions described in this Order.         When the Action has been terminated, a
16 Receiving Party must comply with the provisions of Section 13 below (FINAL

17 DISPOSITION).

18           Protected Material must be stored and maintained by a Receiving Party at a
19 location and in a secure manner that ensures that access is limited to the persons

20 authorized under this Order.

21           b. Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
22 ordered by the Court or permitted in writing by the Designating Party, a Receiving

23 Party may disclose any information or item designated “CONFIDENTIAL” only to:

24              (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
25           as employees of said Outside Counsel of Record to whom it is reasonably
26           necessary to disclose the information for this Action;
27              (b) the officers, directors, and employees (including House Counsel) of the
28           Receiving Party to whom disclosure is reasonably necessary for this Action;


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 1             (c) Experts (as defined in this Order) of the Receiving Party to whom
 2          disclosure is reasonably necessary for this Action and who have signed the
 3          “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 4             (d) the Court and its personnel;
 5             (e) court reporters and their staff;
 6             (f) professional jury or trial consultants, mock jurors, and Professional
 7          Vendors to whom disclosure is reasonably necessary for this Action and who
 8          have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 9             (g) the author or recipient of a document containing the information or a
10          custodian or other person who otherwise possessed or knew the information;
11             (h) any deposition or non-trial hearing witness in the Action (including, for
12          the avoidance of doubt, in preparation for such testimony) who previously did
13          not have access to the Confidential Materials (including any counsel for such
14          individuals); provided, (1) the witness signs the form attached as Exhibit A
15          hereto; and (2) the witness will not be permitted to keep any confidential
16          information unless they sign the “Acknowledgment and Agreement to Be
17          Bound” (Exhibit A), unless otherwise agreed by the Designating Party or
18          ordered by the Court; and
19             (i) any mediator or settlement officer, and their supporting personnel,
20          mutually agreed upon by any of the parties engaged in settlement discussions.
21

22     8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
23     IN OTHER LITIGATION
24           If a Party is served with a subpoena or a court order issued in other litigation
25     that compels disclosure of any information or items designated in this Action as
26     “CONFIDENTIAL,” that Party must:
27             (a) promptly notify in writing the Designating Party. Such notification shall
28          include a copy of the subpoena or court order;


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 1             (b) promptly notify in writing the party who caused the subpoena or order
 2          to issue in the other litigation that some or all of the material covered by the
 3          subpoena or order is subject to this Protective Order. Such notification shall
 4          include a copy of this Stipulated Protective Order; and
 5             (c) cooperate with respect to all reasonable procedures sought to be pursued
 6          by the Designating Party whose Protected Material may be affected.
 7           If the Designating Party timely seeks a protective order, the Party served with
 8     the subpoena or court order shall not produce any information designated in this
 9     action as “CONFIDENTIAL” before a determination by the court from which the
10     subpoena or order issued, unless the Party has obtained the Designating Party’s
11     permission. The Designating Party shall bear the burden and expense of seeking
12     protection in that court of its confidential material, and nothing in these provisions
13     should be construed as authorizing or encouraging a Receiving Party in this Action
14     to disobey a lawful directive from another court.
15

16     9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
17     PRODUCED IN THIS LITIGATION
18             (a) The terms of this Order are applicable to information produced by a Non-
19          Party in this Action and designated as “CONFIDENTIAL.” Such information
20          produced by Non-Parties in connection with this litigation is protected by the
21          remedies and relief provided by this Order. Nothing in these provisions should
22          be construed as prohibiting a Non-Party from seeking additional protections.
23             (b) In the event that a Party is required, by a valid discovery request, to
24          produce a Non-Party’s confidential information in its possession, and the Party
25          is subject to an agreement with the Non-Party not to produce the Non-Party’s
26          confidential information, then the Party shall:
27                (1) promptly notify in writing the Requesting Party and the Non-Party
28             that some or all of the information requested is subject to a confidentiality


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 1              agreement with a Non-Party;
 2                 (2) promptly provide the Non-Party with a copy of the Stipulated
 3              Protective Order in this Action, the relevant discovery request(s), and a
 4              reasonably specific description of the information requested; and
 5                 (3) make the information requested available for inspection by the Non-
 6              Party, if requested.
 7              (c) If the Non-Party fails to seek a protective order from this Court within
 8           14 days of receiving the notice and accompanying information, the Receiving
 9           Party may produce the Non-Party’s confidential information responsive to the
10           discovery request.    If the Non-Party timely seeks a protective order, the
11           Receiving Party shall not produce any information in its possession or control
12           that is subject to the confidentiality agreement with the Non-Party before a
13           determination by the Court. Absent a court order to the contrary, with the court
14           having discretion to shift costs, the Non-Party shall bear the burden and
15           expense of seeking protection in this Court of its Protected Material.
16

17     10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
18            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
19     Protected Material to any person or in any circumstance not authorized under this
20     Stipulated Protective Order, the Receiving Party must immediately (a) notify in
21     writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
22     to retrieve all unauthorized copies of the Protected Material, (c) inform the person
23     or persons to whom unauthorized disclosures were made of all the terms of this
24     Order, and (d) request such person or persons to execute the “Acknowledgment and
25     Agreement to Be Bound” that is attached hereto as Exhibit A.
26

27     11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
28            PROTECTED MATERIAL


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 1             When a Producing Party gives notice to Receiving Parties that certain
 2      inadvertently produced material is subject to a claim of privilege or other protection,
 3      the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 4      Procedure 26(b)(5)(B).      This provision is not intended to modify whatever
 5      procedure may be established in an e-discovery order that provides for production
 6      without prior privilege review.
 7 //

 8 //

 9 //

10      12.    MISCELLANEOUS
11            a. Right to Relief. Nothing in this Order abridges the right of any person to
12 seek its modification by the Court in the future.

13            b. Right to Assert Other Objections. By stipulating to the entry of this
14 Protective Order, no Party waives any right it otherwise would have to object to

15 disclosing or producing any information or item on any ground not addressed in this

16 Stipulated Protective Order. Similarly, no Party waives any right to object on any

17 ground to use in evidence of any of the material covered by this Protective Order.

18 And nothing in these provisions should be construed as prohibiting a Party from

19 seeking additional protections.

20            c. Filing Protected Material. A Party that seeks to file under seal any Protected
21 Material must comply with Civil Local Rule 79-5. Protected Material may only be

22 filed under seal pursuant to a court order authorizing the sealing of the specific

23 Protected Material at issue. If a Party’s request to file Protected Material under seal

24 is denied by the court, then the Receiving Party may file the information in the public

25 record unless otherwise instructed by the court.

26

27      13.    FINAL DISPOSITION
28             After the final disposition of this Action, as defined in Section 4


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 1     (DURATION), within 60 days of a written request by the Designating Party, each
 2     Receiving Party must return all Protected Material to the Producing Party or destroy
 3     such material. As used in this subdivision, “all Protected Material” includes all
 4     copies, abstracts, compilations, summaries, and any other format reproducing or
 5     capturing any of the Protected Material. Whether the Protected Material is returned
 6     or destroyed, the Receiving Party must submit a written certification to the
 7     Producing Party (and, if not the same person or entity, to the Designating Party) by
 8     the 60 day deadline that (1) identifies (by category, where appropriate) all the
 9     Protected Material that was returned or destroyed; and (2) affirms that the Receiving
10     Party has not retained any copies, abstracts, compilations, summaries, or any other
11     format reproducing or capturing any of the Protected Material. Notwithstanding this
12     provision, Counsel are entitled to retain an archival copy of all pleadings, motion
13     papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
14     deposition and trial exhibits, expert reports, attorney work product, and consultant
15     and expert work product, even if such materials contain Protected Material. Any
16     such archival copies that contain or constitute Protected Material remain subject to
17     this Protective Order as set forth in Section 4 (DURATION).
18

19         14.    Any violation of this Order may be punished by any and all appropriate
20 measures including, without limitation, contempt proceedings and/or monetary

21 sanctions.

22     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
23

24 DATED: October 22, 2024                          /s/ Gene C. Schaerr
25
                                                    Gene C. Schaerr
                                                    Edward H. Trent
26                                                  Counsel for Plaintiff
27

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 2     DATED: October 22, 2024                  /s/ Molly M. Lens
 3
                                                Daniel M. Petrocelli
                                                Molly M. Lens
 4                                              Counsel for Defendants
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 1                                          EXHIBIT A
 2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3         I, _____________________________, of _________________, declare under
 4 penalty of perjury that I have read in its entirety and understand the Stipulated

 5 Protective Order that was issued by the United States District Court for the Central

 6 District of California on [date] in the case of Gina Carano v. Walt Disney Co., No.

 7 2:24-cv-01009-SPG-SK. I agree to comply with and to be bound by all the terms of

 8 this Stipulated Protective Order, and I understand and acknowledge that failure to so

 9 comply could expose me to sanctions and punishment in the nature of contempt. I

10 solemnly promise that I will not disclose in any manner any information or item that

11 is subject to this Stipulated Protective Order to any person or entity except in strict

12 compliance with the provisions of this Order.

13         I further agree to submit to the jurisdiction of the United States District Court
14     for the Central District of California for the purpose of enforcing the terms of this
15     Stipulated Protective Order, even if such enforcement proceedings occur after
16     termination of this action. I hereby appoint __________________________ [print
17     or type full name] of _______________________________________ [print or type
18     full address and telephone number] as my California agent for service of process in
19     connection with this action or any proceedings related to enforcement of this
20     Stipulated Protective Order.
21     Date: ______________________________________
22     City and State where sworn and signed: _________________________________
23

24     Printed name: _______________________________
25

26     Signature: __________________________________
27

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